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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



   ALEXANDER OTIS MATTHEWS,

                           Plaintiff,
                                                              Case No. l:14-cv-207
           v.                                                 Hon. Liam O'Grady
                                                              Hon. Michael S. Nachmanoff
   ESTRATEGIA INVESTIMENTOS. et al.

                           Defendants.



                                             ORDER


        This matter comes before the Court sua sponte. Plaintiff brings this cause of action on

behalf of American Investment Real Estate Corporation (A1REC), a revoked Virginia

corporation for which Plaintiff served as the President and Chief Executive Officer. Dkt. Mi 2;

Dkt. 5, H6. Plaintiff claims to derive his authority to bring this suit from Va. Code Ann. § 13.1-

752, which passes the properties and affairs of a terminated corporation to its directors as

trustees. However, under Va. Code Ann. § 13.1-755. causes of action owned by the corporation

prior to dissolution are retained by the corporation to be brought in the corporation's name. RBA

Capital. LP v. Anonick, 2009 WL 960090. at *3 (E.D.Va. Apr. 8. 2009) (citing Cilyof Virginia

Beach v. Bell, 498 S.E.2d 414, 418 (Va. 1998). This case has not been brought in the

corporation's name but in the name of Plaintiff "in his personal capacity." Dkt. 1.^2.

       Accordingly, all matters in this case are hereby STAYED. Plaintiff has thirty (30) days

from the dale of this order to SHOW CAUSE why this case should not be dismissed with

prejudice for lack of standing.

       If Plaintiff seeks to have the Court liberally construe his complaint to deem it brought on
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